                                    Case 2:19-cv-05667-VAP-E Document 1 Filed 06/28/19 Page 1 of 6 Page ID #:1



                                1     Glenn R. Kantor, SBN 122643
                                      gkantor@kantorlaw.net
                                2     Peter S. Sessions, SBN 193301
                                      psessions@kantorlaw.net
                                3     KANTOR & KANTOR, LLP
                                      19839 Nordhoff Street
                                4     Northridge, California, 91324
                                      Telephone: (818) 886-2525
                                5     Facsimile: (818) 350-6272
                                6     Attorneys for Plaintiff
                                      Pooran Amon
                                7
                                8                               UNITED STATES DISTRICT COURT
                                9
                                                            CENTRAL DISTRICT OF CALIFORNIA
                               10
                               11     POORAN AMON,                              Case No.
                               12                  Plaintiff,
                                                                                COMPLAINT FOR:
Northridge, California 91324
 KANTOR & KANTOR LLP




                               13
  19839 Nordhoff Street




                                            vs.
       (818) 886 2525




                               14                                               BREACH OF THE EMPLOYEE
                                                                                RETIREMENT INCOME SECURITY
                                      METROPOLITAN LIFE                         ACT OF 1974; ENFORCEMENT AND
                               15     INSURANCE COMPANY, RALPH                  CLARIFICATION OF RIGHTS;
                                      LAUREN BENEFITS PROGRAM,                  PREJUDGMENT AND POSTJUDGMENT
                               16                                               INTEREST; AND ATTORNEYS’ FEES
                                                   Defendants.                  AND COSTS
                               17
                               18
                               19
                               20           Plaintiff Pooran Amon herein sets forth the allegations of her Complaint
                               21     against Defendants Metropolitan Life Insurance Company and Ralph Lauren
                               22     Benefits Program.
                               23
                               24                                PRELIMINARY ALLEGATIONS
                               25           1.     Jurisdiction: This action is brought under 29 U.S.C. §§ 1132(a), (e), (f)
                               26     and (g) of the Employee Retirement Income Security Act of 1974 (hereinafter
                               27     “ERISA”) as it involves a claim by Plaintiff for employee benefits under an
                               28     employee benefit plan regulated and governed under ERISA. Jurisdiction is

                                                                             1
                                            COMPLAINT FOR BREACH OF THE EMPLOYEE RETIREMENT INCOME SECURITY ACT
                                    Case 2:19-cv-05667-VAP-E Document 1 Filed 06/28/19 Page 2 of 6 Page ID #:2



                                1     predicated under these code sections as well as 28 U.S.C. § 1331 as this action
                                2     involves a federal question. This action is brought for the purpose of recovering
                                3     benefits under the terms of an employee benefit plan, enforcing Plaintiff’s rights
                                4     under the terms of an employee benefit plan, and to clarify Plaintiff’s rights to future
                                5     benefits under an employee benefit plan. Plaintiff seeks relief, including but not
                                6     limited to: payment of benefits, prejudgment and post-judgment interest,
                                7     reinstatement to the benefit plans at issue herein, and attorneys’ fees and costs.
                                8            2.     Plaintiff was at all times relevant an employee of the Ralph Lauren
                                9     Corporation and a resident in Los Angeles County, State of California.
                               10            3.     Plaintiff is informed and believes that Defendant Ralph Lauren Benefits
                               11     Program (“LTD Plan” or “the Plan”) is an employee welfare benefit plan regulated
                               12     by ERISA, established by Ralph Lauren Corporation, under which Plaintiff is and
Northridge, California 91324
 KANTOR & KANTOR LLP




                               13     was a participant, and pursuant to which Plaintiff is entitled to Long Term Disability
  19839 Nordhoff Street

       (818) 886 2525




                               14     (“LTD”) benefits. Pursuant to the terms and conditions of the LTD Plan, Plaintiff is
                               15     entitled to LTD benefits for the duration of Plaintiff’s disability, for so long as
                               16     Plaintiff remains disabled as required under the terms of the LTD Plan. The LTD
                               17     Plan is doing business in this judicial district, in that it covers employees residing in
                               18     this judicial district.
                               19            4.     Plaintiff is informed and believes that Defendant Metropolitan Life
                               20     Insurance Company (“MetLife”) is a corporation with its principal place of business
                               21     in the State of New York, authorized to transact and transacting business in the
                               22     Central District of California, and can be found in the Central District of California.
                               23     MetLife is the insurer of benefits under the LTD Plan. Plaintiff is further informed
                               24     and believes that MetLife was responsible, in whole or in part, for administration of
                               25     the LTD Plan, and acted in the capacity of a plan administrator of the LTD Plan.
                               26     MetLife administered the claim with a conflict of interest and the bias this created
                               27     affected the claims determination.
                               28

                                                                              2
                                             COMPLAINT FOR BREACH OF THE EMPLOYEE RETIREMENT INCOME SECURITY ACT
                                    Case 2:19-cv-05667-VAP-E Document 1 Filed 06/28/19 Page 3 of 6 Page ID #:3



                                1           5.     Plaintiff is informed and believes that her employer funded its LTD
                                2     Plan via the purchase of a group LTD policy from MetLife.
                                3           6.     Plaintiff is informed and believes that MetLife identifies the group
                                4     LTD policy it issued to the Plan as Group No. 117365-1-G (the “Policy”).
                                5           7.     Defendants can be found in this judicial district and the LTD Plan is
                                6     administered in this judicial district. The LTD claim at issue herein was also
                                7     specifically administered in this judicial district. Thus, venue is proper in this
                                8     judicial district pursuant to 29 U.S.C. § 1132(e)(2).
                                9
                                                                 FIRST CLAIM FOR RELIEF
                               10
                                            AGAINST DEFENDANTS METROPOLITAN LIFE INSURANCE
                               11
                                                 COMPANY AND RALPH LAUREN BENEFITS PROGRAM
                               12
                                         FOR PLAN BENEFITS, ENFORCEMENT AND CLARIFICATION OF
Northridge, California 91324
 KANTOR & KANTOR LLP




                               13
  19839 Nordhoff Street




                                         RIGHTS, PREJUDGMENT AND POSTJUDGMENT INTEREST, AND
       (818) 886 2525




                               14
                                                                ATTORNEYS’ FEES AND COSTS
                               15
                                                                      (29 .S.C. § 1132(a)(1)(B))
                               16
                                            8.     Plaintiff incorporates by reference all preceding paragraphs as though
                               17
                                      fully set forth herein.
                               18
                                            9.     At all times relevant, Plaintiff was employed by the Ralph Lauren
                               19
                                      Corporation, and was a covered participant under the terms and conditions of the
                               20
                                      LTD Plan. The LTD Plan was insured by MetLife, and MetLife was also the LTD
                               21
                                      Plan claims administrator and made all decisions to pay or deny benefit claims.
                               22
                                            10.    During the course of Plaintiff’s employment, Plaintiff became entitled
                               23
                                      to LTD benefits under the terms and conditions of the LTD Plan. Specifically, on or
                               24
                                      about April 9, 2014, Plaintiff ceased work due to her disabling condition. Thereafter,
                               25
                                      Plaintiff submitted a claim for LTD benefits to Defendant MetLife. Plaintiff is
                               26
                                      informed and believes that MetLife identified her claim as Claim No.
                               27
                                      751408200339. Defendant MetLife approved benefits under the LTD Plan through
                               28

                                                                             3
                                            COMPLAINT FOR BREACH OF THE EMPLOYEE RETIREMENT INCOME SECURITY ACT
                                    Case 2:19-cv-05667-VAP-E Document 1 Filed 06/28/19 Page 4 of 6 Page ID #:4



                                1     May 16, 2018; it thereafter denied the claim for benefits on the ground that
                                2     Plaintiff’s medical condition no longer met the LTD Plan requirements to establish
                                3     her as disabled. Plaintiff appealed this determination.
                                4           11.    On May 16, 2019, Defendant MetLife denied Plaintiff’s appeal of the
                                5     denial of her LTD claim. As a result, Plaintiff has exhausted her administrative
                                6     remedies under the Policy and Plan.
                                7           12.    Defendants breached the LTD Plan and violated ERISA in the
                                8     following respects:
                                9                  (a)      Defendants failed to pay LTD benefit payments to Plaintiff at a
                               10                           time when Defendants knew, or should have known, that
                               11                           Plaintiff was entitled to those benefits under the terms of the
                               12                           LTD Plan, as Plaintiff was disabled and unable to work and
Northridge, California 91324
 KANTOR & KANTOR LLP




                               13                           therefore entitled to benefits;
  19839 Nordhoff Street

       (818) 886 2525




                               14                  (b)      Defendants failed to provide a prompt and reasonable
                               15                           explanation of the basis relied on under the terms of the LTD
                               16                           Plan documents, in relation to the applicable facts and LTD Plan
                               17                           provisions, for the denial of Plaintiff’s claim for LTD benefits;
                               18                  (c)      Defendants failed, after Plaintiff’s claim was denied, to
                               19                           adequately describe to Plaintiff any additional material or
                               20                           information necessary for Plaintiff to perfect her claim along
                               21                           with an explanation of why such material is or was necessary;
                               22                           and
                               23                  (d)      Defendants failed to properly and adequately investigate the
                               24                           merits of Plaintiff’s disability claim and failed to provide a full
                               25                           and fair review of Plaintiff’s claim.
                               26           13.    Plaintiff is informed and believes and thereon alleges that Defendants
                               27     wrongfully denied her disability benefits under the LTD Plan by other acts or
                               28     omissions of which Plaintiff is presently unaware, but which may be discovered in

                                                                             4
                                            COMPLAINT FOR BREACH OF THE EMPLOYEE RETIREMENT INCOME SECURITY ACT
                                    Case 2:19-cv-05667-VAP-E Document 1 Filed 06/28/19 Page 5 of 6 Page ID #:5



                                1     this future litigation and which Plaintiff will immediately make Defendants aware of
                                2     once said acts or omissions are discovered by Plaintiff.
                                3           14.    Following the denial of benefits under the LTD Plan, Plaintiff
                                4     exhausted all administrative remedies required under ERISA, and Plaintiff has
                                5     performed all duties and obligations on Plaintiff’s part to be performed under the
                                6     LTD Plan.
                                7           15.    As a proximate result of the aforementioned wrongful conduct of
                                8     Defendants, Plaintiff has damages for loss of disability benefits in a total sum to be
                                9     shown at the time of trial.
                               10           16.    As a further direct and proximate result of this improper determination
                               11     regarding Plaintiff’s LTD claim, Plaintiff, in pursuing this action, has been required
                               12     to incur attorneys’ costs and fees. Pursuant to 29 U.S.C. § 1132(g)(1), Plaintiff is
Northridge, California 91324
 KANTOR & KANTOR LLP




                               13     entitled to have such fees and costs paid by Defendants.
  19839 Nordhoff Street

       (818) 886 2525




                               14           17.    The wrongful conduct of Defendants has created uncertainty where
                               15     none should exist, and therefore Plaintiff is entitled to enforce her rights under the
                               16     terms of the LTD Plan and to clarify her right to future benefits under the terms of
                               17     the LTD Plan.
                               18
                               19                                   REQUEST FOR RELIEF
                               20           WHEREFORE, Plaintiff prays for relief against Defendants as follows:
                               21           1.     Payment of disability benefits due Plaintiff up to and including the date
                               22     of judgment;
                               23           2.     An order declaring that Plaintiff is entitled to immediate reinstatement
                               24     to the LTD Plan, with all ancillary benefits to which she is entitled by virtue of her
                               25     disability, and that benefits are to continue to be paid under the LTD Plan for so
                               26     long as Plaintiff remains disabled under the terms of the LTD Plan;
                               27           3.     Pursuant to 29 U.S.C. § 1132(g), payment of all costs and reasonable
                               28     attorneys’ fees incurred in pursuing this action;

                                                                             5
                                            COMPLAINT FOR BREACH OF THE EMPLOYEE RETIREMENT INCOME SECURITY ACT
                                    Case 2:19-cv-05667-VAP-E Document 1 Filed 06/28/19 Page 6 of 6 Page ID #:6



                                1           4.    Payment of prejudgment and post-judgment interest as allowed for
                                2     under ERISA; and
                                3           5.    Such other and further relief as this Court deems just and proper.
                                4
                                5     DATED: June 28, 2019                        KANTOR & KANTOR, LLP
                                6
                                7                                           By:   /s/ Peter S. Sessions
                                                                                  Peter S. Sessions
                                8                                                 Attorneys for Plaintiff
                                                                                  Pooran Amon
                                9
                               10
                               11
                               12
Northridge, California 91324
 KANTOR & KANTOR LLP




                               13
  19839 Nordhoff Street

       (818) 886 2525




                               14
                               15
                               16
                               17
                               18
                               19
                               20
                               21
                               22
                               23
                               24
                               25
                               26
                               27
                               28

                                                                             6
                                            COMPLAINT FOR BREACH OF THE EMPLOYEE RETIREMENT INCOME SECURITY ACT
